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Jeanette Finicum
P.O. Box 918
Colorado City, AZ 86021
Prose

                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON



 UNITED STATES OF AMERICA,                         Case No. 3:16-cr-00051-BR

         Plaintiff,                                AMENDED PETITION FOR
                                                   ANCILLARY PROCEEDING TO
 V.                                                RECOVER PROPERTY                                i
                                                                                                   i!
 JASON PATRICK, et al.,

         Defendants.
                                                                                                   I
                                                                                                   I
  1.

  2.
        My name is Jeanette Finicum, and I am the widow of Robert LaVoy Finicum.

        As LaVoy's widow, and the representative ofLaVoy's Estate, I was served with a copy of
                                                                                                   I
                                                                                                   I
                                                                                                   I
a Notice of Forfeiture("Notice"), filed as Document 1903 in the above-referenced action.           I
                                                                                                   I
  3.    I filed a Petition for Ancillary Proceeding to Recover Property ("Original Petition") on   I
December 5, 2017.
                                                                                                   Ii
  4.    The Government's Response in Opposition ("Response") to the Original Petition was filed    I
on December 18, 2017.
                                                                                                   I
  5.    There was also a Declaration of Travis Welter ("Declaration") in support of the Response   I
filed on December 18, 201 7.                                                                       I
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  6.    Based on the information related in the Response and Declaration, I amend my Original      ~
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                                                                                                   f.
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Petition as follows:

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   My Property Interest In Aldo Uberti .45 caliber rifle, model 1982, serial number Tl490

   7.   In that Notice, filed as Document 1903 in the above-referenced action, and based on the

Response and Declaration filed in this case, and based on my personal knowledge and information

provided by others who are knowledgeable about the materials listed in that Notice, I hereby assert

an interest in the property identified as "Aldo Uberti .45 caliber rifle, model 1982, serial number

T1490."

   8.   Based on the Response and Declaration filed in this case, my personal knowledge, and

information shared with me from other knowledgeable people, I declare that this rifle belonged to

my husband, LaVoy.       I attached to the Original Petition a few photos that I recognize and

understand to have been taken of LaVoy while he was holding or carrying the rifle (in its scabbard,

as he usually carried it) in the January 2016 time period, while LaVoy was at the Malheur Refuge

located in Harney County, Oregon. These photos and others showing LaVoy with the rifle and

scabbard are also available online.

  9.    As the representative of Lavoy's Estate, I request that this rifle, with its scabbard and any

other accessories be returned to me.

   10. I also request a hearing, unless the Court deems it unnecessary in granting my request for

the rifle to be returned to me.



My Property Interest In An Additional Firearm - Rossi .38 Revolver

   11. As an additional matter, I understand that the government may have in its possession

another firearm that belonged to my husband, LaVoy: a Rossi .38 Revolver.

   12. I have been informed by persons knowledgeable that, at the trial held in the above-

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referenced matter in the September-October 2016 time period, the government marked this Rossi

.38 Revolver that belonged to my husband as Government Exhibit 426. I understand that it was

also identified by the government's identification number 1B913. Finally, I understand that the

defendants standing trial at that time marked a potential exhibit as Defendants' Exhibit 1375,

which I understand was an ATF report confirming that my husband, LaVoy, was the owner of this

Rossi .38 Revolver.

   13. Accordingly, as the representative of my husband's estate, I assert a property interest in

that firearm, and I request that the government return it to me as well. If the Court deems it

necessary, I also request a hearing regarding that matter, though I will admit that, unlike the rifle

identified above, it does not appear that the Rossi .38 Revolver was listed on the Notice filed as

Document 1903 in the above-referenced matter, and that I am not currently aware of any Notice

of Forfeiture filed by the government regarding that firearm.
                                                                                                        I

       I declare under penalty of perjury that the foregoing is true and correct according to the
                                                                                                        I
best of my knowledge. Executed on this 23rd day of January, 2018.                                       II
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                                              Isl Jeanette Finicum
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 23, 2018, I made arrangements for the document titled

Amended Petition for Ancillary Proceeding to Recover Property to be filed and served in the

above-referenced matter by placing a copy in a first-class postage paid envelope, to be delivered

via U.S. mail, to the addressee set forth below:

Assistant United States Attorney Katherine C. de Villiers
1000 SW Third Avenue, Suite 600
Portland, OR 97204

       And, to be delivered to the Clerk of the Court for filing, the original Amended Petition

for Ancillary Proceeding to Recover Property, mailed to the following address:

Clerk of Court
U.S. District Court, District of Oregon
1000 SW Third Avenue, Suite 740
Portland, OR 97204-2902

       Finally, I arranged to have one additional copy of the Amended Petition for Ancillary

Proceeding to Recover Property included with the original, and I request that the clerk of the

court file-stamp that copy and return it to me, using the enclosed pre-stamped and self-addressed

envelope.

                                              Isl Jeanette Finicum
                                              Jeanette Finicum
                                              P.O. Box 918
                                              Colorado City, AZ 86021




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   AMENDED PETITION FOR ANCILLARY PROCEEDING TO RECOVER PROPERTY
